Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 1 of 7 Page ID #:6625




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  6    Natural Care, Inc.
  7

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  9                         UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11

 12    THRIVE NATURAL CARE, INC.,          Case No. 2:20-CV-9091-PA-AS
 13                    Plaintiff,          PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S PROFFER OF
 14          v.                            EXPERT OPINIONS OF DAVID
                                           DREWS
 15    THRIVE CAUSEMETICS, INC.,
                                           Hon. Percy Anderson
 16                    Defendant.
                                           Judge: Hon. Percy Anderson
 17                                        Trial Date: November 9, 2021
                                           Final Pretrial Conf.: October 22, 2021
 18                                        Courtroom: 9A
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                                                            PLAINTIFF’S PROFFER OF EXPERT
                                                                OPINIONS RE: DAVID DREWS
                                                                Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 2 of 7 Page ID #:6626




  1                               INDEX OF EXHIBITS
  2   Exhibit
  3   1.    David Drews Curriculum Vitae
  4   2.    Expert Report of David Drews
  5   3.    Supplement to Drews Report
  6   4.    Transcript of Rule 30(b)(6) Deposition of Ned Menninger
  7   5.    TCI_0030182-84
  8   6.    TCI_00031365
  9   7.    Comparable License Agreements
 10   8.    TCI_00026950-55
 11   9.    TCI_00022753-67
 12   10.   TNC01282-99
 13   11.   TNC01160-61
 14   12.   TCI_00019105-06
 15   13.   TCI_00019125-34
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                                                             PLAINTIFF’S PROFFER OF EXPERT
                                                                 OPINIONS RE: DAVID DREWS
                                             -1-                 Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 3 of 7 Page ID #:6627




  1          Pursuant to the Court’s Order dated October 8, 2021 (Dkt. 115), Plaintiff
  2   Thrive Natural Care, Inc. (“Thrive” or “Plaintiff”) hereby provides the following
  3   written proffer of the opinions of David Drews, which Thrive will seek to offer in
  4   its case-in-chief at trial against Defendant Thrive Causemetics, Inc. (“TCI” or
  5   “Defendant”). The exhibits listed above have been provided to the Court and
  6   opposing counsel separately in accordance with the Court’s Order.
  7                                     Proffer of Opinions
  8          Opinion 1: Based on a review and analysis of documents and testimony from
  9   Defendant TCI, TCI’s total profits on sales of infringing skincare products from
 10   2018 through May 31, 2021, are $21,524,380.1 This includes TCI’s skincare
 11   products and hybrid skincare-and-makeup products and is calculated by subtracting
 12   cost of goods sold from total revenues on sales of these products. See Exhibit
 13   (“Ex.”) 2 at 3, 10-11, 24, Schedules 1-3; Ex. 3 at 1-2.
 14          Why Testimony is Relevant: Thrive Natural Care is pursuing an award of
 15   disgorgement of TCI’s profits from sales of infringing skincare products under 15
 16   U.S.C. § 1117(a). “In determining the defendant’s profits, the plaintiff bears the
 17   burden of proving the defendant’s sales; the defendant must then prove any costs or
 18   deductions from the gross sales figure.” A & M Recs., Inc. v. Abdallah, 948 F.
 19   Supp. 1449, 1458 (C.D. Cal. 1996). This testimony establishes the proper amount
 20   of disgorgement damages.
 21          Documents Relied On:
 22                  Ex. 4 – Rule 30(b)(6) Deposition of Ned Menninger, relied on July
 23                    5, 2021, for Opening Report and August 5, 2021, for Supplemental
 24                    Analysis.
 25                  Ex. 5 – TCI_00030182-84 (document produced by Defendant),
 26                    relied on July 5, 2021, for Opening Report and August 5, 2021, for
      1
 27    Thrive has requested that TCI update its revenue data for more recent months. To date,
      TCI has failed to supplement its revenue information in violation of its obligations under
 28   Rule 26(e)(1)(A) of the Federal Rules of Civil Procedure.
                                                                     PLAINTIFF’S PROFFER OF EXPERT
                                                                         OPINIONS RE: DAVID DREWS
                                                   -2-                   Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 4 of 7 Page ID #:6628




  1                   Supplemental Analysis.
  2                 Ex. 6 – TCI_00031365 (document produced by Defendant), relied
  3                   on July 5, 2021, for Opening Report and August 5, 2021, for
  4                   Supplemental Analysis.
  5         Opinion 2: Based on a review and analysis of documents and testimony from
  6   TCI, TCI’s total profits on sales of hybrid skincare-and-makeup products
  7   (Buildable Blur CC Cream and Filtered Effects Blurring Primer) through May 31,
  8   2021, are $9,825,883. TCI’s total profits on sales of products that TCI itself defines
  9   as skincare products through May 31, 2021, are $11,698,497. See Ex. 3 at 1-2.
 10         Why Testimony is Relevant: Thrive Natural Care will show at trial that TCI’s
 11   hybrid skincare-and-makeup products are advertised as skincare products and
 12   should be found to be infringing, as with TCI’s other skincare products. As such,
 13   sales from hybrid products should be included in a disgorgement award. However,
 14   to the extent the Court finds otherwise, it should deduct the amount of profits from
 15   sales of hybrid products from the total sales of skincare products to arrive at the
 16   disgorgement award.
 17         Documents Relied On
 18                 Ex. 4 – Rule 30(b)(6) Deposition of Ned Menninger, relied on July
 19                   5, 2021, for Opening Report and August 5, 2021, for Supplemental
 20                   Analysis.
 21                 Ex. 5 – TCI_00030182-84 (document produced by Defendant),
 22                   relied on July 5, 2021, for Opening Report and August 5, 2021, for
 23                   Supplemental Analysis.
 24                 Ex. 6 – TCI_00031365 (document produced by Defendant), relied
 25                   on July 5, 2021, for Opening Report and August 5, 2021, for
 26                   Supplemental Analysis.
 27         Opinion 3: If necessary to support the conclusion that disgorgement of
 28   Defendants’ profits is for permissible purposes of compensation, prevention of
                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: DAVID DREWS
                                                 -3-                  Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 5 of 7 Page ID #:6629




  1   unjust enrichment, and deterrence, rather than a penalty, Mr. Drews may testify
  2   that: (a) based upon his experience and analysis, an 8% royalty rate would be
  3   reasonable in these circumstances and application of that royalty rate to TCI’s
  4   profits from sales of infringing skincare products would have led to a reasonable
  5   royalty of $4,840,162; and (b) regarding the amount of Thrive’s and TCI’s
  6   expenditures on advertising for skincare products. See Ex. 2 at 3, 13-24, Schedules
  7   1-7; Ex. 3 at 1, 3-4.
  8         Why Testimony is Relevant: Disgorgement of profits is permissible for
  9   purposes of compensation, preventing unjust enrichment, and deterrence but cannot
 10   constitute a penalty. See 15 U.S.C. § 1117(a). Monster Energy Co. v. Integrated
 11   Supply Network, LLC, No. ED-CV-17548-CBM-RAOx, 2021 WL 1521981, at *2
 12   (C.D. Cal. Apr. 12, 2021); Playboy Enters., Inc. v. Baccarat Clothing Co., 692 F.2d
 13   1272, 1275 (9th Cir. 1982) (“Any other remedy” besides disgorgement of profits
 14   earned from the infringing activity “results in the defendants being unjustly
 15   enriched.”). While Thrive seeks a disgorgement of all of TCI’s profits, a reasonable
 16   royalty can also be used “as a baseline or starting point for determining the
 17   appropriate [disgorgement] award,” together with the “possible need for
 18   deterrence . . . .” Sands, Taylor & Wood Co. v. Quaker Oats Co., 978 F.2d 947, 963
 19   n.19 (7th Cir. 1992). TCI has indicated it will argue disgorgement of its profits is a
 20   penalty, and while Mr. Drews’ testimony on these issues may be in rebuttal, it may
 21   also be necessary to address this issue in Thrive’s case-in-chief.
 22         Documents Relied On:
 23                 Ex. 4 – Rule 30(b)(6) Deposition of Ned Menninger, relied on July
 24                    5, 2021, for Opening Report and August 5, 2021, for Supplemental
 25                    Analysis.
 26                 Ex. 5 – TCI_00030182-84 (document produced by Defendant),
 27                    relied on July 5, 2021, for Opening Report and August 5, 2021, for
 28                    Supplemental Analysis.
                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: DAVID DREWS
                                                 -4-                  Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 6 of 7 Page ID #:6630




  1                Ex. 6 – TCI_00031365 (document produced by Defendant), relied
  2                  on July 5, 2021, for Opening Report and August 5, 2021, for
  3                  Supplemental Analysis.
  4                Ex. 7 – Comparable trademark licenses, obtained by Mr. Drews and
  5                  relied on July 5, 2021, for Opening Report and August 5, 2021, for
  6                  Supplemental Analysis.
  7                Ex. 8 – TCI_00026950-55 (document produced by Defendant),
  8                  relied on July 5, 2021, for Opening Report.
  9                Ex. 9 – TCI_00022753-67(document produced by Defendant),
 10                  relied on July 5, 2021, for Opening Report.
 11                Ex. 10 – TNC01282-99 (Plaintiff’s financial information prepared
 12                  by Alex McIntosh), relied on July 5, 2021, for Opening Report.
 13                Ex. 11 – TNC01160-61 (screenshot of Plaintiff’s website taken by
 14                  Alex McIntosh), relied on June 23, 2021, for Opening Report.
 15                Ex. 12 – TCI_00019105-06 (document produced by Defendant),
 16                  relied on July 5, 2021, for Opening Report.
 17                Ex. 13 – TCI_00019125-34 (document produced by Defendant),
 18                  relied on July 5, 2021, for Opening Report.
 19         Thrive reserves the right to call Mr. Drews in rebuttal to any testimony
 20   offered by Defendant TCI.
 21
       DATED: October 15, 2021                   Respectfully submitted,
 22
                                                 THE MCARTHUR LAW FIRM, PC
 23

 24                                              By: /s/ Stephen McArthur
                                                     Stephen McArthur
 25                                                  Thomas Dietrich
 26                                                  Attorneys for Plaintiff Thrive
                                                     Natural Care
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                                                                PLAINTIFF’S PROFFER OF EXPERT
                                                                    OPINIONS RE: DAVID DREWS
                                               -5-                  Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 135 Filed 10/15/21 Page 7 of 7 Page ID #:6631




  1                              CERTIFICATE OF SERVICE
  2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
      Case No.: 2:20-cv-9091-PA-AS
  3
      IT IS HEREBY CERTIFIED THAT:
  4
             I, the undersigned, declare under penalty of perjury that I am a citizen of the
  5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
      Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
  6
               I have caused service of the following documents, described as:
  7
      PLAINTIFF THRIVE NATURAL CARE, INC.’S PROFFER OF EXPERT
  8   OPINIONS OF DAVID DREWS
  9   on the following parties by electronically filing the foregoing on October 15, 2021,
      with the Clerk of the District Court using its ECF System, which electronically
 10   notifies them.
 11   Rollin Ransom (SBN 196126)                     Attorneys for Defendant
      rransom@sidley.com
 12   Ryan Stasell (SBN 307431)
      rstasell@sidley.com
 13   Paula Salazar (SBN 327349)
      psalazar@sidley.com
 14   SIDLEY AUSTIN LLP
      555 West Fifth St., Ste. 4000
 15   Los Angeles, CA 90013
 16   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 17

 18
       Date:     10/15/2021               By: /s/ Thomas Dietrich
 19                                           Thomas Dietrich
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                                                                  PLAINTIFF’S PROFFER OF EXPERT
                                                                      OPINIONS RE: DAVID DREWS
                                                 -6-                  Case No. 2:20-CV-09091-PA-AS
